of the above referenced bankruptcy estate, or if you want the Court to consider your views on the

motion, then on or before December 1, 2020, you or

your attorney should complete the steps described in subsections (a) and (b) below:


           (a) File with the Court a written request for a hearing, and an answer
           explaining your position at:
                400 Cooper St.
                4th Floor
                Camden, NJ 08101.

           If you mail your response to the Court for filing, you must mail it early
           enough so the Court will receive it on or before the date stated above.
           You must also mail a copy of any filing in response to this motion to
           the following:

                FRENKEL LAMBERT WEISS WEISMAN & GORDON, LLP
                80 Main Street, Suite 460
                West Orange, NJ 07052
                Attorneys for Movant

                      -AND-

                Isabel C. Balboa, Esq.
                Cherry Tree Corporate Center
                535 Route 38
                Suite 580
                Cherry Hill, NJ 08002

           (b) Attend the hearing scheduled for December 8, 2020 at 11:00 am in
           Courtroom 4C] of the U.S. Bankruptcy Court, District of New Jersey,
           located at:
                 400 Cooper St.
                 4th Floor
                 Camden, NJ 08101.

       If you or your attorney do not take the steps outlined in subsections (a) and (b)

above, the Court may decide that you do not oppose the relief sought in the motion and

may enter an order granting that relief.
